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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)

                                                            Obj. Deadline: March 5, 2024 at 4:00 p.m. (ET)
                                                            Hearing Date: March 14, 2024 at 3:00 p.m. (ET)

           NOTICE OF FIRST INTERIM APPLICATION OF MORRIS JAMES LLP,
          AS DELAWARE COUNSEL TO THE OFFICIAL COMMITTEE OF EQUITY
           SECURITY HOLDERS, FOR ALLOWANCE OF COMPENSATION AND
               REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                  SEPTEMBER 7, 2023 THROUGH DECEMBER 31, 2023

       PLEASE TAKE NOTICE that on February 14, 2024, Morris James LLP
(“Morris James”), Delaware Counsel to the Official Committee of Equity Security Holders
appointed in the above-referenced bankruptcy cases (the “Equity Committee”), pursuant to the
Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses for
Chapter 11 Professionals and Committee Members [Docket No. 181], (the “Interim Compensation
Order”), filed its First Interim Fee Application (“Application”) seeking allowance of fees in the
amount of $271,950.50 and reimbursement of expenses in the amount of $4,454.51 for the period
from September 7, 2023 through December 31, 2023 (the “Interim Compensation Period”).

        If you object to the relief sought by the Application, you are required to file a response to
the Application, on or before March 5, 2024 at 4:00 p.m. (ET). At the same time, you must also
serve a copy of the response upon the Equity Committee’s counsel:

    BROWN RUDNICK LLP                                      MORRIS JAMES LLP
    Robert J. Stark, Esquire                               Eric J. Monzo, Esquire
    Bennett S. Silverberg, Esquire                         Brya M. Keilson, Esquire
    7 Times Square                                         500 Delaware Avenue, Suite 1500
    New York, NY 10036                                     Wilmington, DE 19801
    Telephone: (212) 209-4800                              Telephone: (302) 888-6800
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    E-mail: rstark@brownrudnick.com                        E-mail: emonzo@morrisjames.com
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    and



1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.



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 One Financial Center
 Boston, MA 02111
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     PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS ARE FILED
AND SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES, THEN ALL
FEES AND EXPENSES REQUESTED IN THE APPLICATION, INCLUDING ANY 20%
HOLDBACK, MAY BE PAID PURSUANT TO THE INTERIM COMPENSATION
ORDER WITHOUT FURTHER HEARING OR ORDER OF THE COURT.

     PLEASE TAKE FURTHER NOTICE THAT A HEARING                                 ON   THE
APPLICATION WILL BE HELD ON MARCH 14, 2024 AT 3:00 P.M. (ET).

Dated: February 14, 2024                        /s/ Eric J. Monzo
                                                Eric J. Monzo (DE Bar No. 5214)




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